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            EXHIBIT B
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                       COMMONWEALTH OF MASSACHUSETTS

 HAMPDEN, ss.                                          SUPERIOR COURT DEPARTMENT
                                                       OF THE TRIAL COURT


NICOLE CARTER,

       Plaintiff,

       v.                                                 Civil Action No. 2579CV00062

SHEIN US SERVICES, LLC,

       Defendant.


            DEFENDANT’S NOTICE OF FILING OF NOTICE OF REMOVAL

       PLEASE TAKE NOTICE THAT on February 24, 2025, SHEIN US Services, LLC, filed

and served upon plaintiff Nicole Carter a timely Notice of Removal pursuant to 28 U.S.C. §§ 1331,

1441, and 1146, and advises the Court that this matter, previously pending in the Hampden County

Superior Court of the Commonwealth of Massachusetts, has been removed to the United States

District Court for the District of Massachusetts. A true and accurate copy of the Notice of Removal

and Civil Action Cover Sheet that was filed with the United States District Court for the District

of Massachusetts is attached hereto as Exhibit 1.

       PLEASE TAKE FURTHER NOTICE that pursuant to 28 U.S.C. § 1446(d), this Court

“shall proceed no further unless and until this case is remanded.”




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                                         Respectfully Submitted,

                                         SHEIN US SERVICES, LLC

                                         By its attorneys,

                                         /s/
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Dated: February __, 2025




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